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                               UNITED STATES OF AMERICA
                             UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION




UNITED STATES OF AMERICA,           )
                                    )
                  Plaintiff,        )                 Case No. 1:10-cr-254
                                    )
v.                                  )                 Honorable Janet T. Neff
                                    )
CARLOS RODRIGUEZ-RODRIGUEZ,         )
                                    )
                  Defendant.        )
____________________________________)


                              REPORT AND RECOMMENDATION

                Pursuant to W.D. MICH . L.CR.R. 11.1, I conducted a plea hearing in the captioned

case on March 29, 2011, after receiving the written consent of defendant and all counsel. At the

hearing, defendant Carlos Rodriguez-Rodriguez entered a plea of guilty to count 1 of the

Superseding Information charging him with interstate travel in aid of a racketeering enterprise, in

violation of 18 U.S.C. §§ 1952(a)(3), (a)(3)(A), in exchange for the undertakings made by the

government in the written plea agreement. On the basis of the record made at the hearing, I find that

defendant is fully capable and competent to enter an informed plea; that the plea is made knowingly

and with full understanding of each of the rights waived by defendant; that it is made voluntarily and

free from any force, threats, or promises, apart from the promises in the plea agreement; that the

defendant understands the nature of the charge and penalties provided by law; and that the plea has

a sufficient basis in fact.
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                I therefore recommend that defendant's plea of guilty to count 1 of the Superseding

Information be accepted, that the court adjudicate defendant guilty of the charge, and that the written

plea agreement be considered for acceptance at the time of sentencing. Acceptance of the plea,

adjudication of guilt, acceptance of the plea agreement, and imposition of sentence are specifically

reserved for the district judge.



Dated: March 30, 2011                          /s/ Joseph G. Scoville
                                               U.S. Magistrate Judge



                                      NOTICE TO PARTIES

                You have the right to de novo review of the foregoing findings by the district judge.
Any application for review must be in writing, must specify the portions of the findings or proceed-
ings objected to, and must be filed and served no later than 14 days after the plea hearing. See W.D.
MICH . L.CR.R. 11.1(d). A failure to file timely objections may result in the waiver of any further
right to seek appellate review of the plea-taking procedure. See Thomas v. Arn, 474 U.S. 140 (1985);
United States v. Branch, 537 F.3d 582, 587 (6th Cir.), cert. denied, 129 S. Ct. 752 (2008); Frontier
Ins. Co. v. Blaty, 454 F.3d 590, 596-97 (6th Cir. 2006). General objections do not suffice. Spencer
v. Bouchard, 449 F.3d 721, 724-25 (6th Cir. 2006); see Frontier, 454 F.3d at 596-97; McClanahan
v. Comm’r of Social Security, 474 F.3d 830, 837 (6th Cir. 2006).
